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-v- 2:04CR20156_01_M| J‘J.D. C}¢ TN, f-£i;i\

FLOYD JOHNSON

Marty McAfee, CJA
Defense Attorney

246 Adams Avenue
Memphis, TN 38103

 

JUDGN|ENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on l\/larch 25, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & section M.e.e§f§ie§n_s_§ Offense MMI:(§)
Conc|uded
18 U.S.C. § 922(g) Felon in Possession of a Firearm 11/22/2002 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 07/30/1966 June 1, 2005
Deft’s U.S. |V|arshal No.: 19608-076

Defendant’s l\/lailing Address:
577 We|ls
|Vlemphis, TN 38107

/Q»€ll) ltd

JON PH|PPS MCCALLA
UN| ED STATES DISTR|CT JUDGE

June f ,2005

This document entered on the docket;]heet in compliance
warn sure 55 and/or squ) mch on “£ l

 

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lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 46 Months (or 3 Years and 10 i\/lonths).

The Court recommends to the Bureau of Prisons:

1. The defendant be allowed to participate in G.E.D. (General Equivalency Dip|oma)

classes
2. The defendant be allowed to participate in vocational training
3. The defendant be incarcerated as close to l\/lemphis, TN as possiblel

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States |Vlarshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. lVlarshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 Years.

The defendant shall report to the probation office in the district to Which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave thejudicial district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete Written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shai| refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;
8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate

with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
iaw enforcement officer;

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11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal ivionetary Penalties sheet of thisjudgment.

ADDiT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply With the following additional conditions of supervised
release:

1. The defendant shall submit to drug, alcohol and mental health testing and treatment
programs as directed by the Probation Office.

The defendant shall obtain his G.E.D. (Generai Equivalency Dip|oma).

The defendant shall participate in vocational trainingl

The defendant shall cooperate with DNA collection as directed by the Probation Office.

:P‘S-*’i\>

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Scheduie of Payrnents may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution

$100.00
The Special Assessment shall be due immediately
F|NE
No fine imposed
REST|TUT|ON

No Restitution was ordered

   

UNITED S`TATE DRISTIC COURT - WSTERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CR-20156 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
Memphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

